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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION

               Veronica L. Duffy United States Magistrate Judge Presiding

Courtroom Deputy - MSB                              Court Reporter – FTR
Courtroom - SF #3                                   Date – November 19, 2020
US Probation Officer – Roy Weber
                                   4:20-CR-40096-KES-1

UNITED STATES OF AMERICA                                        Jeff Clapper

                 Plaintiff,

                    vs.

JUDAH CONRAD WAINSCOAT                                          Matt Powers

                Defendant.


TIME HEARING SCHEDULED TO BEGIN 1:00 PM

 TIME:
1:00 PM     Enter bond hearing before the Hon. Veronica L. Duffy, United States Magistrate
            Judge, Sioux Falls, SD.

            Counsel appears remotely and state their appearances for the record. Defendant
            appears remotely and consents to do so.

            Defense requests bond and states their reasons

            Government does not oppose release

            The Court orders the defendant released with conditions and reviews conditions
            with the defendant. Defendant understands.

            Court advised defendant of penalties for violating conditions.

1:11 PM     Court in recess.
